Case 1:19-cv-00434-CFC-CJB        Document 59 Filed 10/04/19      Page 1 of 39 PageID #:
                                         3648



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 PHARMACYCLICS LLC and                     )
 JANSSEN BIOTECH, INC.,                    )
                                           )
                    Plaintiffs,            )
                                           )
             v.                            ) C.A. No. 19-434 (CFC)
                                           )
 ALVOGEN PINE BROOK LLC and                )
 NATCO PHARMA LTD.,                        )
                                           )
                    Defendants.            )
                                           )

                  JOINT CLAIM CONSTRUCTION CHART
       Plaintiffs Pharmacyclics LLC and Janssen Biotech, Inc., (collectively,

 “Plaintiffs”); and Defendants Alvogen Pine Brook LLC and Natco Pharma Ltd.

 (collectively, “Defendants”), hereby file this Final Joint Claim Construction Chart

 in accordance with the Court’s Scheduling Order. D.I. 40 ¶ 15.

       The chart addresses the claim construction positions of the parties regarding

 U.S. Patent Nos. 7,514,444 (“the ’444 Patent”); 8,008,309 (“the ’309 Patent”);

 8,476,284 (“the ’284 Patent”); 8,497,277 (“the ’277 Patent”); 8,697,711 (“the ’711

 Patent”); 8,735,403 (“the ’403 Patent”); 8,754,090 (“the ’090 Patent”); 8,754,091

 (“the ’091 Patent”); 8,952,015 (“the ’015 Patent”); 8,957,079 (“the ’079 Patent”);

 9,181,257 (“the ’257 Patent”); 9,296,753 (“the ’753 Patent”); 9,725,455 (“the ’455

 Patent”); 10,106,548 (“the ’548 Patent”); 10,125,140 (“the ’140 Patent”);



                                           1
Case 1:19-cv-00434-CFC-CJB         Document 59 Filed 10/04/19    Page 2 of 39 PageID #:
                                          3649



 9,655,857 (“the ’857 Patent”); 10,010,507 (“the ’507 Patent”); and 10,213,386

 (“the ’386 Patent”) (collectively, the “Asserted Patents”).

       Attached as Appendix A is a table identifying the parties’ proposed

 constructions and citations to the intrinsic evidence in support of their respective

 constructions of certain terms.

       The parties reserve the right to rely on additional intrinsic evidence to the

 extent it is necessary to provide additional context or to rebut arguments made by

 other parties during the claim construction briefing. The parties further reserve the

 right to rely on any intrinsic evidence identified by any other party. The parties

 also reserve their rights to rely on extrinsic evidence. The parties reserve the right

 to update and/or supplement their proposed claim constructions with the Markman

 briefing in this case.

       The parties intend to rely on the Asserted Patents, the specifications of the

 Asserted Patents, the claims of the Asserted Patents, the file histories of the

 Asserted Patents, and patents and applications to which the Asserted Patents claim

 priority, including any related patents or patent applications related to the Asserted

 Patents. Any citation to intrinsic evidence provided by the parties in support of

 their proposed claim constructions is intended as exemplary. The parties reserve

 the right to cite to analogous passages in other relevant Asserted Patents or

 prosecution histories. Any additional evidence or reference within or encompassed



                                            2
Case 1:19-cv-00434-CFC-CJB      Document 59 Filed 10/04/19      Page 3 of 39 PageID #:
                                       3650



 by a particular citation is deemed incorporated by reference (e.g., references to a

 figure or table are incorporated by reference). The parties’ citations to supporting

 evidence incorporate by reference the respective portions of any related patents for

 each of the passages from the specification cited herein. For example, a citation to

 any passage from the specification of the ’444, ’284, ’277, ’711, ’403, ’091, ’015,

 ’079, ’257, or ’309 Patent incorporates by reference the respective passages of the

 other patents. A citation to any passage from the specification of ’753, ’455, ’548,

 or ’140 Patent incorporates by reference the respective passages of the other

 patents. A citation to any passage from the specification of ’857, ’507, or ’386

 Patent incorporates by reference the respective passages of the other patents. Cited

 passages are intended to include all figures and tables referenced therein, whether

 referenced or not.

       The parties understand that it is not the Court’s typical practice to address

 indefiniteness at the claim construction stage. Attached as Appendix B is a table

 identifying the terms Defendants contend are indefinite and for which Defendants

 do not propose a construction. The parties do not plan to address the merits of

 Defendants’ indefiniteness arguments for the terms in Appendix B in their Joint

 Claim Construction Brief or during the claim construction hearing in this matter,

 scheduled for January 13, 2020 (C.A. No. 19-434 (CFC), D.I. 40), unless

 instructed otherwise by the Court. Copies of the patents are attached, as below.



                                          3
Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19   Page 4 of 39 PageID #:
                                    3651



           Exhibit                            Evidence
          Exhibit A                    U.S. Patent No. 9,725,455
           Exhibit B                   U.S. Patent No. 9,296,753
           Exhibit C                   U.S. Patent No. 7,514,444
          Exhibit D                    U.S. Patent No. 8,008,309
           Exhibit E                   U.S. Patent No. 8,476,284
           Exhibit F                   U.S. Patent No. 8,697,711
          Exhibit G                    U.S. Patent No. 8,957,079
          Exhibit H                    U.S. Patent No. 9,181,257
           Exhibit I                   U.S. Patent No. 8,497,277
           Exhibit J                   U.S. Patent No. 8,735,403
          Exhibit K                    U.S. Patent No. 8,754,091
           Exhibit L                   U.S. Patent No. 8,952,015
          Exhibit M                    U.S. Patent No. 8,754,090
          Exhibit N                   U.S. Patent No. 10,106,548
          Exhibit O                   U.S. Patent No. 10,125,140
           Exhibit P                   U.S. Patent No. 9,655,857
          Exhibit Q                   U.S. Patent No. 10,010,507
           Exhibit R                  U.S. Patent No. 10,213,386




                                      4
Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19    Page 5 of 39 PageID #:
                                    3652




MORRIS, NICHOLS, ARSHT & TUNNELL          YOUNG CONAWAY STARGATT &
LLP                                       TAYLOR, LLP

/s/ Jeremy A. Tigan                       /s/ Melanie K. Sharp
                                          ____________________________
Jack B. Blumenfeld (#1014)                Melanie K. Sharp (No. 2501)
Jeremy A. Tigan (#5239)                   James L. Higgins (No. 5021)
1201 North Market Street                  1000 North King Street
P.O. Box 1347                             Wilmington, DE 19801
Wilmington, DE 19899                      (302) 571-6600
(302) 658-9200                            msharp@ycst.com
jblumenfeld@mnat.com                      jhiggins@ycst.com
jtigan@mnat.com
                                          Siegmund Y. Gutman
Attorneys for Plaintiffs                  David M. Hanna
                                          Michelle M. Ovanesian*
OF COUNSEL:                               Christopher D. Lynch
                                          PROSKAUER ROSE LLP
Christopher N. Sipes                      2029 Century Park East, Suite 2400
Erica N. Andersen                         Los Angeles, CA 90067-3010
Brianne Bharkhda                          (310) 557-2900
Chanson Chang                             *Admitted to Practice in Delaware Only
Nicholas Evoy
COVINGTON & BURLING LLP                   Attorneys for Alvogen Pine Brook LLC &
One CityCenter                            Natco Pharma Ltd.
850 Tenth Street NW
Washington, DC 20001-4956
(202) 662-6000

Attorneys for Pharmacyclics LLC




                                      5
Case 1:19-cv-00434-CFC-CJB     Document 59 Filed 10/04/19   Page 6 of 39 PageID #:
                                      3653



Irena Royzman
Marcus A. Colucci
Cristina Martinez
KRAMER LEVIN NAFTALIS & FRANKEL
LLP
1177 Avenue of the Americas
New York, NY 10036
(212) 715-9100

Attorneys for Janssen Biotech, Inc.

October 4, 2019




                                        6
              Case 1:19-cv-00434-CFC-CJB       Document 59 Filed 10/04/19       Page 7 of 39 PageID #:
                                                      3654



            APPENDIX A: DISPUTED CLAIM TERMS AND PROPOSED CONSTRUCTIONS

                                  PLAINTIFFS’ PROPOSED                      DEFENDANTS’ PROPOSED
         TERM
                               CONSTRUCTION AND INTRINSIC                 CONSTRUCTION AND INTRINSIC
    (PATENT/CLAIMS)1
                                       EVIDENCE2                                  EVIDENCE

“compound”                    Proposed Construction:                      Proposed Construction:

         *****              “a substance formed when two or more          The term is indefinite
                            elements are chemically bonded                If the Court chooses to construe the
’444 Patent: Claims 1–2, 5– together. These elements cannot be            term, it means “molecule (that is not a
6, 8                        separated by physical means.” (C.A. No.       composition, formulation, derivative,
                            18-192, D.I. 169, Transcript of May 20,       salt, metabolite, solvate, prodrug, ester,
’309 Patent: Claims 1, 10,  2019 Hearing)                                 acid, crystalline form (“also known as
14
                            Intrinsic Evidence:                           polymorph[]”), or N-oxide of the

1
  Claims asserted against Defendants are emphasized in bold. Listed claims that are not in bold are those from
which asserted claims depend.
2
  Plaintiffs incorporate by reference the corresponding portions of any related patents for each of the passages from
a particular specification cited herein. For example, a citation to any passage from the specification of U.S. Patent
Nos. 7,514,444 (“the ’444 Patent”), 8,476,284 (“the ’284 Patent”), 8,497,277 (“the ’277 Patent”), 8,697,711 (“the
’711 Patent”), 8,735,403 (“the ’403 Patent”), 8,754,091 (“the ’091 Patent”), 8,952,015 (“the ’015 Patent”),
8,957,079 (“the ’079 Patent”), 9,181,257 (“the ’257 Patent”), 8,008,309 (“the ’309 Patent”) incorporates by
reference the corresponding passages of the ’444, ’284, ’277, ’711, ’403, ’091, ’015, ’079, ’257, and ’309 Patents.
A citation to any passage from the specification of U.S. Patent Nos. 9,296,753 (“the ’753 Patent”), 9,725,455 (“the
’455 Patent”), 10,125,140 (“the ’140 Patent”), or 10,106,548 (“the ’548 Patent”) incorporates by reference the
corresponding passages of the ’753, ’455, ’140, and/or ’548 Patents. A citation to any passage from the
specification of U.S. Patent Nos. 9,655,857 (“the ’857 Patent”), 10,010,507 (“’507 Patent”), or 10,213,386 (“the
’386 Patent”) incorporates by reference the corresponding passages of the ’857, ’507, and/or ’386 Patents. Cited
passages are intended to include all figures and tables referenced therein.


                                                        A1
              Case 1:19-cv-00434-CFC-CJB      Document 59 Filed 10/04/19     Page 8 of 39 PageID #:
                                                     3655



                                 PLAINTIFFS’ PROPOSED                     DEFENDANTS’ PROPOSED
       TERM
                              CONSTRUCTION AND INTRINSIC                CONSTRUCTION AND INTRINSIC
  (PATENT/CLAIMS)1
                                      EVIDENCE2                                 EVIDENCE
’284 Patent: Claim 11         The claims, specification, and           recited molecule)”
                              prosecution history of the:              Intrinsic Evidence:
’711 Patent: Claims 1–2
                                 o ’444 Patent                         E.g., ’444 Patent (Ex. C) at 1:64-2:55;
’091 Patent: Claims 1, 20        o ’309 Patent                         4:12-19; 4:35-45; 4:61-5:3; 13:48-14:5;
                                 o ’284 Patent                         23:26-52; 29:24-32:4; 33:1-55; 34:46-
’079 Patent: Claims 1–5, 7
                                 o ’711 Patent                         35:30; 54:64-55:6; 57:54-59:4; 59:28-
’257 Patent: Claims 1, 2–5,      o ’079 Patent                         63; 60:7-61:6; 62:34-49; 83:26-40;
8, 13                            o ’257 Patent                         107:18-23
                                 o ’857 Patent                          E.g., ’309 Patent (Ex. D) at 2:4-62;
                                 o ’507 Patent                          4:19-26; 4:42-52; 5:1-10; 13:54-14:11;
                                                                        23:1-28; 28:66-31:67; 33:1-57; 34:46-
                              ’444 Patent (Ex. C), 1:64–2:55, 3:45–51, 35:29; 54:60-55:2; 57:47-58:64; 59:22-
                              11:17–20, 11:48–12:4, 27:63–28:16,        57; 60:1-67; 62:27-42; 83:9-25; 108:66-
                              29:40–35:31, 59:33–63, 60:7–49;           109:4
                              corresponding passages in the ’309 (Ex.
                              D), ’284 (Ex. E), ’711 (Ex. F), ’079 (Ex. E.g., ’284 Patent (Ex. E) at 2:9-67;
                              G), and ’257 (Ex. H) Patents; the claims 4:23-30; 4:46-56; 5:5-5:14; 13:57-
                              of the ’444 (Ex. C), ’309 (Ex. D), ’284   14:14; 23:10-37; 29:8-32:2; 32:66-
                              (Ex. E), ’711 (Ex. F), ’079 (Ex. G), and 33:54; 34:42-35:24; 54:61-55:3; 57:47-
                              ’257 (Ex. H) Patents.                     58:64; 59:22-57; 60:1-67; 62:27-42;
                                                                        83:8-22; 106:52-57
                              ’857 Patent (Ex. P), 1:50–2:40, 10:9–34, E.g., ’711 Patent (Ex. F) at 2:29-3:18;
                              10:58–62, 11:5–55, 24:31–26:2, 26:64– 4:41-48; 4:64-5:7; 5:23-32; 14:6-30;
                              27:4, 30:8–34, 49:65–50:24, 72:30–55,     23:28-54; 29:29-32:6; 32:66-33:54;


                                                        A2
        Case 1:19-cv-00434-CFC-CJB    Document 59 Filed 10/04/19     Page 9 of 39 PageID #:
                                             3656



                         PLAINTIFFS’ PROPOSED                     DEFENDANTS’ PROPOSED
     TERM
                      CONSTRUCTION AND INTRINSIC                CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                              EVIDENCE2                                 EVIDENCE
                     76:21–30, and 76:58–59; corresponding      34:42-35:28; 54:59-55:2; 57:46-58:64;
                     passages in the ’507 Patent (Ex. Q); the   59:22-57; 60:1-67; 62:27-42; 83:8-22;
                     claims of the ’857 (Ex. P) and ’507        106:20-25
                     Patents (Ex. Q).                           E.g., ’091 Patent (Ex. K) at 2:38-3:25;
                                                                4:49-56; 5:5-15; 5:32-41; 14:15-39;
                     Intrinsic evidence cited/discussed in      23:39-65; 29:35-32:14; 33:1-56; 34:43-
                     C.A. No. 18-192 D.I. 144, 148, and 169.    35:24; 54:59-55:2; 57:47-58:64; 59:22-
                                                                57; 60:1-67; 62:27-42; 83:8-22; 106:7-
                                                                12
                     ’444 Patent (Appl. No. 11/617,645)
                     Prosecution History: Original Claims       E.g., ’079 Patent (Ex. G) at 2:26-3:16;
                     and Abstract (December 28, 2006);          4:40-47; 4:63-5:6; 5:23-32; 14:6-30;
                     Requirement for Restriction/Election       23:37-64; 29:47-32:35; 33:26-34:17;
                     dated November 14, 2007; Response to       35:6-55; 55:16-26; 58:14-59:31; 59:55-
                     Requirement for Restriction/Election       60:23; 60:34-61:33; 62:60-63:8; 83:34-
                     dated December 14, 2007; Response to       48; 106:52-57
                     Office Action dated July 29, 2008; Final   E.g., ’257 Patent (Ex. H) at 2:35-3:26;
                     Rejection dated October 16, 2008;          4:49-56; 5:5-15; 5:31-40; 14:15-39;
                     Response After Final Office Action         23:37-64; 29:46-32:36; 33:28-34:16;
                     dated November 21, 2008; Notice of         35:6-55; 55:44-53; 58:30-59:47; 60:4-
                     Allowance dated February 9, 2009.          39; 60:50-61:49; 63:10-25; 83:62-84:9;
                      ’753 Patent (Appl. No. 13/908,949)        106:66-107:4
                      Prosecution History: Requirement for      E.g., US 11/617,645 Application (“’645
                      Restriction/Election dated January 28,    Application”) Prosecution History


                                               A3
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19     Page 10 of 39 PageID #:
                                           3657



                        PLAINTIFFS’ PROPOSED                     DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC                CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                                 EVIDENCE
                     2015 at 2-3; Response to Requirement     (Patent No. 7,514,444): Non-Final
                     for Restriction/Election dated March 30, Office Action dated January 24, 2008,
                     2015; Response to Non-Final Office       at 3; Response to Non-Final Office
                     Action dated August 24, 2015, at 8-25;   Action dated February 6, 2008, at 2-3;
                     Amended Claims dated August 24,          Non-Final Office Action dated May 13,
                     2015; Notice of Allowance dated          2008, at 3
                     November 17, 2015; and Interview         E.g., US 13/908,949 Application (“’949
                     Summary dated November 17, 2015.         Application”) Prosecution History
                     ’403 Patent (Appl. No. 13/249,066)       (Patent No. 9,296,753): Response to
                     Prosecution History: Response to Non-    Non-Final Office Action dated August
                     Final Office Action dated April 10,      24, 2015, at 8-25
                     2013, at 5-6; Final Rejection dated May   E.g., US 13/249,066 Application (“’066
                     15, 2013, at 2-7; and Notice of           Application”) Prosecution History
                     Allowance dated January 15, 2014.         (Patent No. 8,735,403): Non-Final
                                                               Office Action dated November 27,
                     ’439 Patent (Appl. No. 13/450,158)        2012, at 2-7; Response to Non-Final
                     Prosecution History: Original Claims      Office Action dated April 10, 2013, at
                     dated April 18, 2012; Response to Non-    6; Final Rejection dated May 15, 2013,
                     Final Office Action dated December 24,    at 3-6; Response to Advisory Action
                     2013, at 6; and Notice of Allowance       and Final Office Action dated
                     dated January 31, 2014.                   November 15, 2013, at 2
                     ’470 Patent (Appl. No. 13/361,733)        E.g., US 13/450,158 Application (“’158
                     Prosecution History: Original Claims      Application”) Prosecution History
                                                               (Patent No. 8,748,439): Non-Final

                                              A4
             Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19       Page 11 of 39 PageID #:
                                                 3658



                              PLAINTIFFS’ PROPOSED                      DEFENDANTS’ PROPOSED
      TERM
                           CONSTRUCTION AND INTRINSIC                 CONSTRUCTION AND INTRINSIC
 (PATENT/CLAIMS)1
                                   EVIDENCE2                                  EVIDENCE
                           dated January 30, 2012; Response to        Office Action dated October 31, 2013,
                           Non-Final Office Action dated October      at 8-9; Response to Non-Final Office
                           1, 2012, at 1-7; and Notice of Allowance   Action dated December 24, 2013, at 6
                           dated November 14, 2012.                   E.g., US 13/361,733 Application (“’733
                           ’908 Patent (Appl. No. 13/340,556)         Application”) Prosecution History
                           Prosecution History: Amended Claims        (Patent No. 8,399,470): Non-Final
                           dated January 31, 2012; and Notice of      Office Action dated July 6, 2012, at 2-
                           Allowance dated January 31, 2014.          8; Response to Non-Final Office Action
                                                                      dated October 1, 2012, at 3-4
                           Appl. No. 15/042,734 (abandoned)           E.g., US 13/340,556 Application (“’556
                           Prosecution History: Amended Claims        Application”) Prosecution History
                           dated September 30, 2016; and Non-         (Patent No. 8,741,908): Non-Final
                           Final Office Action dated November 7,      Office Action dated July 31, 2013, at 3-
                           2016, at 3-18.                             8; Response to Non-Final Office Action
                                                                      dated December 31, 2013, at 5-6
                                                                      E.g., US 15/042,734 Application (“’734
                                                                      Application”) Prosecution History
                                                                      (abandoned): Non-Final Office Action
                                                                      dated November 7, 2016, at 3-8

“compound”                 Proposed Construction:                     Proposed Construction:

       *****               “a substance formed when two or more       “molecule (that is not a composition,
                           elements are chemically bonded             formulation, derivative, salt, metabolite,


                                                    A5
             Case 1:19-cv-00434-CFC-CJB    Document 59 Filed 10/04/19       Page 12 of 39 PageID #:
                                                  3659



                                PLAINTIFFS’ PROPOSED                     DEFENDANTS’ PROPOSED
       TERM
                             CONSTRUCTION AND INTRINSIC                CONSTRUCTION AND INTRINSIC
  (PATENT/CLAIMS)1
                                     EVIDENCE2                                 EVIDENCE
’857 Patent: Claims 1–4, 9– together. These elements cannot be         solvate, prodrug, [ester], [acid],
10, 16–24, 27–30, 36–37     separated by physical means.” (C.A. No.    crystalline form, [“also known as
                            18-192, D.I. 169, Transcript of May 20,    polymorph[]”], or N-oxide of the
’507 Patent: Claims 1–3, 5– 2019 Hearing)                              recited molecule)”
10, 13–17, 19–21, 23, 25–
28                          Intrinsic Evidence:                        Intrinsic Evidence:
                            The claims, specification, and             E.g., ’857 Patent (Ex. P) at 10:47-57;
                            prosecution history of the:                10:63-11:4; 11:19-55; 24:31-32; 24:66-
                                                                       25:62; 26:64-27:4; 29:47-54; 70:15-28
                                o ’857 Patent                          E.g., ’507 Patent (Ex. Q) at 10:57-67;
                                o ’507 Patent                          11:6-14; 11:29-65; 24:42-43; 25:20-
                                                                       26:17; 27:20-27; 30:3-11; 70:50-62
                            ’857 Patent (Ex. P), 1:50–2:40, 10:9–34,
                            10:58–62, 11:5–55, 24:31–26:2, 26:64–      E.g., ’645 Application Prosecution
                            27:4, 30:8–34, 49:65–50:24, 72:30–55,      History (Patent No. 7,514,444): Non-
                            76:21–30, and 76:58–59; corresponding      Final Office Action dated January 24,
                            passages in the ’507 Patent (Ex. Q); the   2008, at 3; Response to Non-Final
                            claims of the ’857 (Ex. P) and ’507        Office Action dated February 6, 2008,
                            Patents (Ex. Q).                           at 2-3; Non-Final Office Action dated
                                                                       May 13, 2008, at 3
                            Intrinsic evidence cited/discussed in      E.g., ’949 Application Prosecution
                            C.A. No. 18-192 D.I. 144, 148, and 169.    History (Patent No. 9,296,753):
                                                                       Response to Non-Final Office Action
                                                                       dated August 24, 2015, at 8-25
                            ’444 Patent (Appl. No. 11/617,645)


                                                     A6
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19       Page 13 of 39 PageID #:
                                           3660



                        PLAINTIFFS’ PROPOSED                      DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC                 CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                                  EVIDENCE
                     Prosecution History: Original Claims       E.g., ’066 Application Prosecution
                     and Abstract (December 28, 2006);          History (Patent No. 8,735,403): Non-
                     Requirement for Restriction/Election       Final Office Action dated November
                     dated November 14, 2007; Response to       27, 2012, at 2-7; Response to Non-Final
                     Requirement for Restriction/Election       Office Action dated April 10, 2013, at
                     dated December 14, 2007; Response to       6; Final Rejection dated May 15, 2013,
                     Office Action dated July 29, 2008; Final   at 3-6; Response to Advisory Action
                     Rejection dated October 16, 2008;          and Final Office Action dated
                     Response After Final Office Action         November 15, 2013, at 2
                     dated November 21, 2008; Notice of         E.g., ’158 Application Prosecution
                     Allowance dated February 9, 2009.          History (Patent No. 8,748,439): Non-
                     ’753 Patent (Appl. No. 13/908,949)         Final Office Action dated October 31,
                     Prosecution History: Requirement for       2013, at 8-9; Response to Non-Final
                     Restriction/Election dated January 28,     Office Action dated December 24,
                     2015 at 2-3; Response to Requirement       2013, at 6
                     for Restriction/Election dated March 30,   E.g., ’733 Application Prosecution
                     2015; Response to Non-Final Office         History (Patent No. 8,399,470): Non-
                     Action dated August 24, 2015, at 8-25;     Final Office Action dated July 6, 2012,
                     Amended Claims dated August 24,            at 2-8; Response to Non-Final Office
                     2015; Notice of Allowance dated            Action dated October 1, 2012, at 3-4
                     November 17, 2015; and Interview
                     Summary dated November 17, 2015.           E.g., ’556 Application Prosecution
                                                                History (Patent No. 8,741,908): Non-
                     ’403 Patent (Appl. No. 13/249,066)         Final Office Action dated July 31, 2013,
                     Prosecution History: Response to Non-      at 3-8; Response to Non-Final Office

                                              A7
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19      Page 14 of 39 PageID #:
                                           3661



                        PLAINTIFFS’ PROPOSED                      DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC                 CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                                  EVIDENCE
                     Final Office Action dated April 10,        Action dated December 31, 2013, at 5-6
                     2013, at 5-6; Final Rejection dated May    E.g., ’734 Application Prosecution
                     15, 2013, at 2-7; and Notice of            History (abandoned): Non-Final Office
                     Allowance dated January 15, 2014.          Action dated November 7, 2016, at 3-8
                     ’439 Patent (Appl. No. 13/450,158)
                     Prosecution History: Original Claims
                     dated April 18, 2012; Response to Non-
                     Final Office Action dated December 24,
                     2013, at 6; and Notice of Allowance
                     dated January 31, 2014.

                     ’470 Patent (Appl. No. 13/361,733)
                     Prosecution History: Original Claims
                     dated January 30, 2012; Response to
                     Non-Final Office Action dated October
                     1, 2012, at 1-7; and Notice of Allowance
                     dated November 14, 2012.

                     ’908 Patent (Appl. No. 13/340,556)
                     Prosecution History: Amended Claims
                     dated January 31, 2012; and Notice of
                     Allowance dated January 31, 2014.

                     Appl. No. 15/042,734 (abandoned)
                     Prosecution History: Amended Claims

                                              A8
                Case 1:19-cv-00434-CFC-CJB        Document 59 Filed 10/04/19   Page 15 of 39 PageID #:
                                                         3662



                                     PLAINTIFFS’ PROPOSED                   DEFENDANTS’ PROPOSED
       TERM
                                  CONSTRUCTION AND INTRINSIC              CONSTRUCTION AND INTRINSIC
  (PATENT/CLAIMS)1
                                          EVIDENCE2                               EVIDENCE
                                  dated September 30, 2016; and Non-
                                  Final Office Action dated November 7,
                                  2016, at 3-18.

“the structure [ . . . ]          Proposed Construction:                  Proposed Construction:
                                  No construction necessary/plain and     “the structure shown (that is not a
                                  ordinary meaning.                       composition, formulation, derivative,
                                                                          salt, metabolite, solvate, prodrug,
                                  Intrinsic Evidence:                     [ester], [acid], crystalline form, [“also
                                                                          known as polymorph[]”], or N-oxide of
                                  The claims, specification, and          the recited molecule)”
                                  prosecution history of the:
                                                                          Intrinsic Evidence:
                                     o ’444 Patent                        E.g., ’277 Patent (Ex. I) at 2:6-62; 4:34-
                                     o ’309 Patent                        41; 4:57-67; 5:16-25; 13:66-14:24;
                                     o ’284 Patent                        23:33-59; 29:30-32:6; 33:1-55; 34:40-
                                     o ’711 Patent                        35:22; 54:62-55:4; 57:47-58:64; 59:22-
                           ; or      o ’277 Patent                        57; 60:1-67; 62:27-42; 83:8-22; 106:13-
                                     o ’403 Patent                        18
                                     o ’091 Patent                        E.g., ’091 Patent (Ex. K) at 2:38-3:25;
                                     o ’015 Patent                        4:49-56; 5:5-15; 5:32-41; 14:15-39;
                                     o ’090 Patent                        23:39-65; 29:35-32:14; 33:1-55; 34:43-
                                     o ’079 Patent                        35:24; 54:59-55:2; 57:47-58:64; 59:22-
                                     o ’257 Patent                        57; 60:1-67; 62:27-42; 83:8-22; 106:7-
                                                                          13
                                     o ’857 Patent

                                                            A9
             Case 1:19-cv-00434-CFC-CJB     Document 59 Filed 10/04/19     Page 16 of 39 PageID #:
                                                   3663



                                PLAINTIFFS’ PROPOSED                     DEFENDANTS’ PROPOSED
       TERM
                             CONSTRUCTION AND INTRINSIC                CONSTRUCTION AND INTRINSIC
  (PATENT/CLAIMS)1
                                     EVIDENCE2                                 EVIDENCE
                                o ’507 Patent
                                                                      E.g., ’015 Patent (Ex. L) at 2:12-3:03;
                                                                      4:27-34; 4:50-60; 5:9-18; 13:61-14:19;
                             ’444 Patent (Ex. C), 1:64–2:55, 7:1–5,   23:22-48; 29:19-31:67; 33:1-57; 34:46-
                             8:45–63, 12:33–36, 13:2–4; 13:18–19,     35:29; 54:64-55:6; 57:54-59:4; 59:28-
                             14:7-9, 14:24–25, 14:50–52, 15:33–34, 63; 60:7-61:6; 62:33-48; 83:20-34;
                     ]”                                               108:66-109:4
                             16:36–38, 18:18–20, 29:37–39, 36:25–
                             51:37, 57:26–32, 59:5–10, 95:18–97:33; E.g., ’090 patent (Ex. M) at 4:15-58;
                                                                      13:57-14:14; 26:3-29; 45:57-49:46;
         *****               corresponding passages in the ’277 (Ex. 50:13-51:7; 52:1-53:32; 54:20-56:29;
                             I), ’403 (Ex. J); ’091 (Ex. K), and ’015 56:48-58:60; 60:1-46; 61:23-63:3;
’277 Patent: Claims 7–8, 11 (Ex. L) Patents; the claims of the ’277   84:23-85:39; 85:63-67; 86:1-31; 86:42-
’403 Patent: Claims 1–2      (Ex. I), ’403 (Ex. J); ’091 (Ex. K), and 87:41; 126:46-61; 130:45-50
’091 Patent: Claims 1, 20–   ’015 (Ex. L) Patents.                    E.g., ’857 Patent (Ex. P) at 10:47-57;
21                                                                    10:63-11:4; 11:19-55; 24:31-32; 24:66-
’015 Patent: Claim 17        ’090 Patent (Ex. M), 4:15–58, 12:32–     25:62; 26:64-27:4; 29:47-54; 70:15-28
’090 Patent: Claims 1–2      19:56, 45:57–60, 46:4–79:23, and
’857 Patent: Claims 1–4, 9– 85:40–51; the claims of the ’090 Patent. E.g., ’645 Application Prosecution
10, 16–24, 25–26, 27–30,                                              History (Patent No. 7,514,444): Non-
                                                                      Final Office Action dated January 24,
36–37                       ’857 Patent (Ex. P), 1:50–2:40, 10:9–34, 2008, at 3; Response to Non-Final
                            24:40–65, 30:8–34, 49:65–50:24, and       Office Action dated February 6, 2008,
                            72:30–55; the claims of the ’857 Patent. at 2-3; Non-Final Office Action dated
                                                                      May 13, 2008, at 3
                                                                      E.g., US 13/340,522 Application (“’522
                             ’403 Patent (Appl. No. 13/249,066)       Application”) Prosecution History
                             Prosecution History: Response to Non-    (Patent No. 8,754,090): Non-Final


                                                     A10
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19      Page 17 of 39 PageID #:
                                           3664



                        PLAINTIFFS’ PROPOSED                        DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC                 CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                                       EVIDENCE
                     Final Office Action dated December 23,     Office Action dated March 13, 2013, at
                     2013; January 15, 2014 Notice of           5-11; Response to Non-Final Office
                     Allowance.                                 Action dated September 9, 2013, at 3, 7
                                                                E.g., ’949 Application Prosecution
                     ’444 Patent (Appl. No. 11/617,645)         History (Patent No. 9,296,753):
                     Prosecution History: Original Claims       Response to Non-Final Office Action
                     and Abstract (December 28, 2006);          dated August 24, 2015, at 8-25
                     Requirement for Restriction/Election
                     dated November 14, 2007; Response to       E.g., ’066 Application Prosecution
                     Requirement for Restriction/Election       History (Patent No. 8,735,403): Non-
                     dated December 14, 2007; Response to       Final Office Action dated November
                     Office Action dated July 29, 2008; Final   27, 2012, at 2-7; Response to Non-Final
                     Rejection dated October 16, 2008;          Office Action dated April 10, 2013, at
                     Response After Final Office Action         6; Final Rejection dated May 15, 2013,
                     dated November 21, 2008; Notice of         at 3-6; Response to Advisory Action
                     Allowance dated February 9, 2009.          and Final Office Action dated
                                                                November 15, 2013, at 2
                     ’753 Patent (Appl. No. 13/908,949)         E.g., ’158 Application Prosecution
                     Prosecution History: Requirement for       History (Patent No. 8,748,439): Non-
                     Restriction/Election dated January 28,     Final Office Action dated October 31,
                     2015 at 2-3; Response to Requirement       2013, at 8-9; Response to Non-Final
                     for Restriction/Election dated March 30,   Office Action dated December 24,
                     2015; Response to Non-Final Office         2013, at 6
                     Action dated August 24, 2015, at 8-25;
                     Amended Claims dated August 24,            E.g., ’733 Application Prosecution
                                                                History (Patent No. 8,399,470): Non-

                                              A11
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19       Page 18 of 39 PageID #:
                                           3665



                        PLAINTIFFS’ PROPOSED                      DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC                 CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                                  EVIDENCE
                     2015; Notice of Allowance dated            Final Office Action dated July 6, 2012,
                     November 17, 2015; and Interview           at 2-8; Response to Non-Final Office
                     Summary dated November 17, 2015.           Action dated October 1, 2012, at 3-4

                     ’403 Patent (Appl. No. 13/249,066)         E.g., ’556 Application Prosecution
                     Prosecution History: Response to Non-      History (Patent No. 8,741,908): Non-
                     Final Office Action dated April 10,        Final Office Action dated July 31, 2013,
                     2013, at 5-6; Final Rejection dated May    at 3-8; Response to Non-Final Office
                     15, 2013, at 2-7; and Notice of            Action dated December 31, 2013, at 5-6
                     Allowance dated January 15, 2014.          E.g., ’734 Application Prosecution
                                                                History (abandoned): Non-Final Office
                     ’439 Patent (Appl. No. 13/450,158)         Action dated November 7, 2016, at 3-8
                     Prosecution History: Original Claims
                     dated April 18, 2012; Response to Non-     E.g., US 13/472,292 Application (“’292
                     Final Office Action dated December 24,     Application”) Prosecution History
                     2013, at 6; and Notice of Allowance        (Patent No. 8,691,546): Response to
                     dated January 31, 2014.                    Non-Final Office Action dated August
                                                                8, 2013, at 3-5
                     ’470 Patent (Appl. No. 13/361,733)         E.g., US 12/499,002 Application (“’002
                     Prosecution History: Original Claims       Application”) Prosecution History
                     dated January 30, 2012; Response to        (Patent No. 8,501,751): Response to
                     Non-Final Office Action dated October      Non-Final Office Action dated October
                     1, 2012, at 1-7; and Notice of Allowance   30, 2012, at 2-7
                     dated November 14, 2012.
                                                                E.g., US 13/340,409 Application (“’409
                     ’908 Patent (Appl. No. 13/340,556)         Application”) Prosecution History


                                              A12
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19   Page 19 of 39 PageID #:
                                           3666



                        PLAINTIFFS’ PROPOSED                   DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC              CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                               EVIDENCE
                     Prosecution History: Amended Claims     (Patent No. 8,748,438): Response to
                     dated January 31, 2012; and Notice of   Non-Final Office Action dated October
                     Allowance dated January 31, 2014.       8, 2013, at 3-7

                     Appl. No. 15/042,734 (abandoned)        E.g., US 13/335,719 Application (“’719
                     Prosecution History: Amended Claims     Application”) Prosecution History
                     dated September 30, 2016; and Non-      (Patent No. 8,735,404): Applicant-
                     Final Office Action dated November 7,   Initiated Interview Summary dated
                     2016, at 3-18.                          September 26, 2013, at Paper No.
                                                             20130925; Response to Non-Final
                                                             Office Action dated October 8, 2013, at
                                                             3-6
                                                             E.g., US 13/361,726 Application (“’726
                                                             Application”) Prosecution History
                                                             (Patent No. 8,658,653): Response to
                                                             Non-Final Office Action dated August
                                                             6, 2013, at 3-6
                                                             E.g., US 13/526,163 Application (“’163
                                                             Application”) Prosecution History
                                                             (Patent No. 8,552,010): Applicant-
                                                             Initiated Interview Summary dated July
                                                             29, 2013, at Paper No. 20130725;
                                                             Amendment After Final dated July 26,
                                                             2013, at 2-5


                                             A13
             Case 1:19-cv-00434-CFC-CJB       Document 59 Filed 10/04/19     Page 20 of 39 PageID #:
                                                     3667



                                 PLAINTIFFS’ PROPOSED                     DEFENDANTS’ PROPOSED
       TERM
                              CONSTRUCTION AND INTRINSIC                CONSTRUCTION AND INTRINSIC
  (PATENT/CLAIMS)1
                                      EVIDENCE2                                 EVIDENCE

“1-((R)-3-(4-amino-3-(4-      Proposed Construction:                    Proposed Construction:
phenoxyphenyl)-1H-            No construction necessary/plain and       “the molecule:
pyrazolo[3,4-d]pyrimidin-     ordinary meaning.
1-yl)piperidin-1-yl)prop-2-
en-1-one”                     Intrinsic Evidence:
                              The claims, specification, and
         *****                prosecution history of the:

’444 Patent: Claim 5             o ’444 Patent
’309 Patent: Claims 1, 10,       o ’309 Patent
14                               o ’455 Patent
’455 Patent: Claim 1             o ’753 Patent
’753 Patent: Claims 1–15,        o ’548 Patent                        (excluding compositions, formulations,
17                               o ’140 Patent                        derivatives, salts, metabolites, solvates,
’548 Patent: Claims 1–30                                              prodrugs, [esters], acids, crystalline
’140 Patent: Claims 1–4       ’444 Patent (Ex. C), 1:64–2:55, 7:1–5, forms (“also known as polymorphs”),
                              8:45–63, 12:33–36, 13:2–4; 13:18–19, and N-oxides thereof)”
                              14:7-9, 14:24–25, 14:50–52, 15:33–34,
                              16:36–38, 18:18–20, 29:37–39, 36:25– Intrinsic Evidence:
                              51:37, 57:26–32, 59:5–10, 95:18–97:33; E.g., ’444 Patent (Ex. C) at 1:64-2:55;
                              corresponding passages in ’309 Patent 4:12-19; 4:35-45; 4:61-5:3; 13:48-14:5;
                              (Ex. D); the claims of the ’444 (Ex. C) 23:26-52; 29:24-32:4; 33:1-55; 34:46-
                              and ’309 (Ex. D) Patents.               35:30; 54:64-55:6; 57:54-59:4; 59:28-
                                                                      63; 60:7-61:6; 62:34-49; 83:26-40;
                                                                      95:19-97:32; 107:18-23


                                                       A14
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19       Page 21 of 39 PageID #:
                                           3668



                        PLAINTIFFS’ PROPOSED                      DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC                 CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                                  EVIDENCE

                     ’548 Patent (Ex. N), 1:52–2:13, 29:20–     E.g., ’309 Patent (Ex. D) at 2:4-62;
                     2:45; corresponding passages in ’455       4:19-26; 4:42-52; 5:1-10; 13:54-14:11;
                     (Ex. A), ’753 (Ex. B), and ’140 (Ex. O)    23:1-28; 28:66-31:67; 33:1-57; 34:46-
                     Patents; the claims of the ’455 (Ex. A),   35:29; 54:60-55:2; 57:47-58:64; 59:22-
                     ’753 (Ex. B), ’548 (Ex. N) and ’140 (Ex.   57; 60:1-67; 62:27-42; 83:9-25; 95:1-
                     O) Patents.                                97:4; 108:66-109:4
                                                                E.g., ’455 Patent (Ex. A) at Abstract;
                     ’444 Patent (Appl. No. 11/617,645)         1:19-26; 1:45-53; 1:57-9:12; 9:40-
                     Prosecution History: Original Claims       12:44; 13:11-21; 16:8-60; 28:59-60;
                     and Abstract (December 28, 2006);          29:1-36:19; 42:5-20; 42:55-60; 43:3-11;
                     Requirement for Restriction/Election       51:55-52:12; 64:37-66:40; 72:60-73:34
                     dated November 14, 2007; Response to
                     Requirement for Restriction/Election       E.g., ’753 Patent (Ex. B) at 1:14-21;
                     dated December 14, 2007; Response to       1:40-48; 1:52-2:33; 1:37-7:44; 10:5-37;
                     Office Action dated July 29, 2008; Final   12:66-13:8; 15:58-16:7; 16:29-41;
                     Rejection dated October 16, 2008;          28:25-26; 28:34-29:59; 35:37-41;
                     Response After Final Office Action         40:63-41:31; 50:58-51:3; 63:28-65:31;
                     dated November 21, 2008; Notice of         72:41-73:28
                     Allowance dated February 9, 2009.          E.g., ’548 Patent (Ex. N) at Abstract,
                                                                1:26-33; 1:52-60; 1:64-9:27; 9:55-
                     ’753 Patent (Appl. No. 13/908,949)         12:61; 13:28-38; 16:24-17:9; 29:10-11;
                     Prosecution History: Requirement for       29:20-36:34; 42:17-33; 43:1-6; 43:16-
                     Restriction/Election dated January 28,     24; 52:1-25; 64:50-66:50 73:60-74:34
                     2015 at 2-3; Response to Requirement
                     for Restriction/Election dated March 30,   E.g., ’140 Patent (Ex. O) at Abstract,


                                              A15
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19     Page 22 of 39 PageID #:
                                           3669



                        PLAINTIFFS’ PROPOSED                     DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC                CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                                 EVIDENCE
                     2015; Response to Non-Final Office        1:24-31; 1:50-58; 1:62-9:12; 9:38-
                     Action dated August 24, 2015, at 8-25;    12:41; 13:8-18; 16:6-59; 28:59-60;
                     Amended Claims dated August 24,           29:1-36:10; 41:62-42:11; 42:46-51;
                     2015; Notice of Allowance dated           42:61-43:2; 51:45-52:2; 64:30-66:30;
                     November 17, 2015; and Interview          72:52-73:27
                     Summary dated November 17, 2015.          E.g., ’857 Patent (Ex. P) at 1:14-22;
                     ’403 Patent (Appl. No. 13/249,066)        1:41-49; 1:53-2:5; 2:14-40; 10:9-34;
                     Prosecution History: Response to Non-     10:47-57; 10:63-11:55; 24:31-32;
                     Final Office Action dated April 10,       24:39-26:62; 29:22-31; 29:47-54; 30:8-
                     2013, at 5-6; Final Rejection dated May   32; 49:65-50:20; 70:15-28; 72:30-54
                     15, 2013, at 2-7; and Notice of           E.g., ’507 Patent (Ex. Q) at 1:20-28;
                     Allowance dated January 15, 2014.         1:47-55; 1:59-2:12; 2:21-46; 10:19-44;
                                                               10:57-67; 11:6-65; 24:42-43; 24:52-
                     ’439 Patent (Appl. No. 13/450,158)        26:18; 29:45-54; 30:3-10; 30:32-55;
                     Prosecution History: Original Claims      50:22-45; 70:50-62; 72:65-73:20
                     dated April 18, 2012; Response to Non-
                     Final Office Action dated December 24,    E.g., ’386 Patent (Ex. R) at 1:23-31;
                     2013, at 6; and Notice of Allowance       1:50-58; 1:62-2:14; 2:23-47; 10:19-43;
                     dated January 31, 2014.                   10:57-67; 11:6-65; 24:51-52; 24:60-
                                                               26:18; 29:45-54; 30:3-10; 30:32-55;
                     ’470 Patent (Appl. No. 13/361,733)        50:22-45; 70:50-62; 72:66-73:20
                     Prosecution History: Original Claims      E.g., ’645 Application Prosecution
                     dated January 30, 2012; Response to       History (Patent No. 7,514,444): Non-
                     Non-Final Office Action dated October     Final Office Action dated January 24,


                                              A16
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19     Page 23 of 39 PageID #:
                                           3670



                        PLAINTIFFS’ PROPOSED                    DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC               CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                                EVIDENCE
                     1, 2012, at 1-7; and Notice of Allowance 2008, at 3; Response to Non-Final
                     dated November 14, 2012.                 Office Action dated February 6 2008, at
                                                              2-3; Non-Final Office Action dated
                     ’908 Patent (Appl. No. 13/340,556)       May 13, 2008, at 3
                     Prosecution History: Amended Claims
                     dated January 31, 2012; and Notice of    E.g., ’522 Application Prosecution
                     Allowance dated January 31, 2014.        History (Patent No. 8,754,090): Non-
                                                              Final Office Action dated March 13,
                     Appl. No. 15/042,734 (abandoned)         2013, at 5-11; Response to Non-Final
                     Prosecution History: Amended Claims      Office Action dated September 9, 2013,
                     dated September 30, 2016; and Non-       at 3, 7
                     Final Office Action dated November 7,    E.g., ’949 Application Prosecution
                     2016, at 3-18.                           History (Patent No. 9,296,753):
                                                              Response to Non-Final Office Action
                                                              dated August 24, 2015, at 8-25
                                                              E.g., ’066 Application Prosecution
                                                              History (Patent No. 8,735,403): Non-
                                                              Final Office Action dated November
                                                              27, 2012, at 2-7; Response to Non-Final
                                                              Office Action dated April 10, 2013, at
                                                              6; Final Rejection dated May 15, 2013,
                                                              at 3-6; Response to Advisory Action
                                                              and Final Office Action dated
                                                              November 15, 2013, at 2


                                             A17
              Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19   Page 24 of 39 PageID #:
                                                  3671



                               PLAINTIFFS’ PROPOSED                  DEFENDANTS’ PROPOSED
       TERM
                            CONSTRUCTION AND INTRINSIC             CONSTRUCTION AND INTRINSIC
  (PATENT/CLAIMS)1
                                    EVIDENCE2                              EVIDENCE
                                                                   E.g., ’158 Application Prosecution
                                                                   History (Patent No. 8,748,439): Non-
                                                                   Final Office Action dated October 31,
                                                                   2013, at 8-9; Response to Non-Final
                                                                   Office Action dated December 24,
                                                                   2013, at 6
                                                                   E.g., ’733 Application Prosecution
                                                                   History (Patent No. 8,399,470): Non-
                                                                   Final Office Action dated July 6, 2012,
                                                                   at 2-8; Response to Non-Final Office
                                                                   Action dated October 1, 2012, at 3-4
                                                                   E.g., ’556 Application Prosecution
                                                                   History (Patent No. 8,741,908): Non-
                                                                   Final Office Action dated July 31, 2013
                                                                   at 3-8; Response to Non-Final Office
                                                                   Action dated December 31, 2013, at 5-6
                                                                   E.g., ’734 Application Prosecution
                                                                   History (abandoned): Non-Final Office
                                                                   Action dated November 7, 2016, at 3-8

“ibrutinib”                 Proposed Construction:                 Proposed Construction:

         *****              No construction necessary/plain and    “the molecule:
                            ordinary meaning.


                                                     A18
             Case 1:19-cv-00434-CFC-CJB     Document 59 Filed 10/04/19       Page 25 of 39 PageID #:
                                                   3672



                                PLAINTIFFS’ PROPOSED                      DEFENDANTS’ PROPOSED
       TERM
                             CONSTRUCTION AND INTRINSIC                 CONSTRUCTION AND INTRINSIC
  (PATENT/CLAIMS)1
                                     EVIDENCE2                                  EVIDENCE
’857 Patent: Claims 1–4, 9– Intrinsic Evidence:
10, 16–24, 27–30, 36–37
’507 Patent: Claims 1–3, 5– The claims, specification, and
10, 13–17, 19–21, 23, 25–    prosecution history of the:
28
                                 o ’857 Patent
’386 Patent: Claims 1, 2, 3,
                                 o ’507 Patent
4–23
                                 o ’386 Patent

                             ’857 Patent (Ex. P), 1:41–2:40, 10:9–34,
                                                                        (excluding compositions, formulations,
                             24:40–25:17, 30:9–34, 72:31–55;
                                                                        derivatives, salts, metabolites, solvates,
                             corresponding passages in the ’507 (Ex
                                                                        prodrugs, [esters], acids, crystalline
                             Q) and ’386 (Ex. R) Patents; the claims
                                                                        forms (“also known as polymorphs”),
                             of the ’857 (Ex. P), ’507 (Ex Q), and
                                                                        and N-oxides thereof)”
                             ’386 (Ex. R) Patents.
                                                                        Intrinsic Evidence:
                                                                        E.g., ’444 Patent (Ex. C) at 1:64-2:55;
                                                                        4:12-19; 4:35-45; 4:61-5:3; 13:48-14:5;
                                                                        23:26-52; 29:24-32:4; 33:1-55; 34:46-
                                                                        35:30; 54:64-55:6; 57:54-59:4; 59:28-
                                                                        63; 60:7-61:6; 62:34-49; 83:26-40;
                                                                        95:19-97:32; 107:18-23
                                                                        E.g., ’309 Patent (Ex. D) at 2:4-62;
                                                                        4:19-26; 4:42-52; 5:1-10; 13:54-14:11;


                                                      A19
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19   Page 26 of 39 PageID #:
                                           3673



                        PLAINTIFFS’ PROPOSED                  DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC             CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                              EVIDENCE
                                                            23:1-28; 28:66-31:67; 33:1-57; 34:46-
                                                            35:29; 54:60-55:2; 57:47-58:64; 59:22-
                                                            57; 60:1-67; 62:27-42; 83:9-25; 95:1-
                                                            97:4; 108:66-109:4
                                                            E.g., ’455 Patent (Ex. A) at Abstract;
                                                            1:19-26; 1:45-53; 1:57-9:12; 9:40-
                                                            12:44; 13:11-21; 16:8-60; 28:59-60;
                                                            29:1-36:19; 42:5-20; 42:55-60; 43:3-11;
                                                            51:55-52:12; 64:37-66:40; 72:60-73:34
                                                            E.g., ’753 Patent (Ex. B) at 1:14-21;
                                                            1:40-48; 1:52-2:33; 1:37-7:44; 10:5-37;
                                                            12:66-13:8; 15:58-16:7; 16:29-41;
                                                            28:25-26; 28:34-29:59; 35:37-41;
                                                            40:63-41:31; 50:58-51:3; 63:28-65:31;
                                                            72:41-73:28
                                                            E.g., ’548 Patent (Ex. N) at Abstract,
                                                            1:26-33; 1:52-60; 1:64-9:27; 9:55-
                                                            12:61; 13:28-38; 16:24-17:9; 29:10-11;
                                                            29:20-36:34; 42:17-33; 43:1-6; 43:16-
                                                            24; 52:1-25; 64:50-66:50 73:60-74:34
                                                            E.g., ’140 Patent (Ex. O) at Abstract,
                                                            1:24-31; 1:50-58; 1:62-9:12; 9:38-
                                                            12:41; 13:8-18; 16:6-59; 28:59-60;


                                            A20
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19   Page 27 of 39 PageID #:
                                           3674



                        PLAINTIFFS’ PROPOSED                  DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC             CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                              EVIDENCE
                                                            29:1-36:10; 41:62-42:11; 42:46-51;
                                                            42:61-43:2; 51:45-52:2; 64:30-66:30;
                                                            72:52-73:27
                                                            E.g., ’857 Patent (Ex. P) at 1:14-22;
                                                            1:41-49; 1:53-2:5; 2:14-40; 10:9-34;
                                                            10:47-57; 10:63-11:55; 24:31-32;
                                                            24:39-26:62; 29:22-31; 29:47-54; 30:8-
                                                            32; 49:65-50:20; 70:15-28; 72:30-54
                                                            E.g., ’507 Patent (Ex. Q) at 1:20-28;
                                                            1:47-55; 1:59-2:12; 2:21-46; 10:19-44;
                                                            10:57-67; 11:6-65; 24:42-43; 24:52-
                                                            26:18; 29:45-54; 30:3-10; 30:32-55;
                                                            50:22-45; 70:50-62; 72:65-73:20
                                                            E.g., ’386 Patent (Ex. R) at 1:23-31;
                                                            1:50-58; 1:62-2:14; 2:23-47; 10:19-43;
                                                            10:57-67; 11:6-65; 24:51-52; 24:60-
                                                            26:18; 29:45-54; 30:3-10; 30:32-55;
                                                            50:22-45; 70:50-62; 72:66-73:20
                                                            E.g., ’645 Application Prosecution
                                                            History (Patent No. 7,514,444): Non-
                                                            Final Office Action dated January 24,
                                                            2008, at 3; Response to Non-Final
                                                            Office Action dated February 6 2008, at


                                            A21
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19   Page 28 of 39 PageID #:
                                           3675



                        PLAINTIFFS’ PROPOSED                  DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC             CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                              EVIDENCE
                                                            2-3; Non-Final Office Action dated
                                                            May 13, 2008, at 3
                                                            E.g., ’522 Application Prosecution
                                                            History (Patent No. 8,754,090): Non-
                                                            Final Office Action dated March 13,
                                                            2013, at 5-11; Response to Non-Final
                                                            Office Action dated September 9, 2013,
                                                            at 3, 7
                                                            E.g., ’949 Application Prosecution
                                                            History (Patent No. 9,296,753):
                                                            Response to Non-Final Office Action
                                                            dated August 24, 2015, at 8-25
                                                            E.g., ’066 Application Prosecution
                                                            History (Patent No. 8,735,403): Non-
                                                            Final Office Action dated November
                                                            27, 2012, at 2-7; Response to Non-Final
                                                            Office Action dated April 10, 2013, at
                                                            6; Final Rejection dated May 15, 2013,
                                                            at 3-6; Response to Advisory Action
                                                            and Final Office Action dated
                                                            November 15, 2013, at 2
                                                            E.g., ’158 Application Prosecution
                                                            History (Patent No. 8,748,439): Non-


                                            A22
             Case 1:19-cv-00434-CFC-CJB     Document 59 Filed 10/04/19        Page 29 of 39 PageID #:
                                                   3676



                               PLAINTIFFS’ PROPOSED                        DEFENDANTS’ PROPOSED
       TERM
                            CONSTRUCTION AND INTRINSIC                   CONSTRUCTION AND INTRINSIC
  (PATENT/CLAIMS)1
                                    EVIDENCE2                                    EVIDENCE
                                                                         Final Office Action dated October 31,
                                                                         2013, at 8-9; Response to Non-Final
                                                                         Office Action dated December 24,
                                                                         2013, at 6
                                                                         E.g., ’733 Application Prosecution
                                                                         History (Patent No. 8,399,470): Non-
                                                                         Final Office Action dated July 6, 2012,
                                                                         at 2-8; Response to Non-Final Office
                                                                         Action dated October 1, 2012, at 3-4
                                                                         E.g., ’556 Application Prosecution
                                                                         History (Patent No. 8,741,908): Non-
                                                                         Final Office Action dated July 31, 2013
                                                                         at 3-8; Response to Non-Final Office
                                                                         Action dated December 31, 2013, at 5-6
                                                                         E.g., ’734 Application Prosecution
                                                                         History (abandoned): Non-Final Office
                                                                         Action dated November 7, 2016, at 3-8

“crystalline form”          Proposed Construction:                       Proposed Construction:

         *****              No construction necessary/plain and          “crystalline form (excluding solvates,
                            ordinary meaning. Not limited to a           salts, and compositions of the recited
’455 Patent: Claims 1–13    particular crystalline form. (C.A. No. 18-   molecule)”
’753 Patent: Claims 1–15,   192, D.I. 169, Transcript of May 20,         Intrinsic Evidence:


                                                      A23
             Case 1:19-cv-00434-CFC-CJB    Document 59 Filed 10/04/19   Page 30 of 39 PageID #:
                                                  3677



                              PLAINTIFFS’ PROPOSED                    DEFENDANTS’ PROPOSED
       TERM
                           CONSTRUCTION AND INTRINSIC               CONSTRUCTION AND INTRINSIC
  (PATENT/CLAIMS)1
                                   EVIDENCE2                                EVIDENCE
17                         2019 Hearing)                            E.g., ’455 Patent (Ex. A) at Abstract;
’548 Patent: Claims 1–30   Intrinsic Evidence:                      1:19-26; 1:57-2:39; 2:43-7:26; 10:17-
’140 Patent: Claims 1–4                                             50; 13:11-21; 13:31-36; 16:8-60; 29:51-
                           The claims, specification, and           30:23; 30:32-36:19; 51:55-52:12;
                           prosecution history of the:              64:38-66:40

                              o ’455 Patent                         E.g., ’753 Patent (Ex. B) at Abstract;
                              o ’753 Patent                         1:14-21; 1:52-2:33; 2:37-7:44; 10:5-37;
                              o ’548 Patent                         12:66-13:8; 15:58-16:41; 29:21-59;
                              o ’140 Patent                         30:1-35:41; 50:58-51:3; 63:28-65:31
                                                                    E.g., ’548 Patent (Ex. N) at Abstract,
                           ’548 Patent (Ex. N), 1:52–2:11, 2:26–29, 1:26-33; 1:64-2:46; 2:50-7:39; 10:32-
                           2:36–49, 2:50–7:67, 9:18–27, 9:55–13:5, 65; 13:28-38; 13:48-53; 16:24-17:9;
                           13:44–53, 16:41–62, 29:20–47,30:34–      30:6-45; 30:54-36:34; 52:1-25; 64:50-
                           45, 30:54–36:34, 37:37–52, 42:51–53,     66:50
                           64:50–73:22, 73:60–74:35, 74:45–60,      E.g., ’140 Patent (Ex. O) at Abstract,
                           75:3–20; corresponding passages in the   1:24-31; 1:62-2:43; 2:47-7:27; 10:14-
                           ’455 (Ex. A), ’753 (Ex. B), and ’140     47; 13:8-18; 13:28-33; 16:6-59; 29:52-
                           (Ex. O) Patents; the claims of the ’455  30:25; 30:34-36:10; 51:45-52:2; 64:30-
                           (Ex. A), ’753 (Ex. B), ’548 (Ex. BB) and 66:30
                           ’140 (Ex. O) Patents..
                                                                    E.g., US 16/036,207 Application (“’207
                                                                    Application”) Prosecution History
                           Intrinsic evidence cited/discussed in    (pending): Non-Final Office Action
                           C.A. No. 18-192 D.I. 144, 148, and 169. dated March 8, 2019 at 3-4


                                                    A24
                Case 1:19-cv-00434-CFC-CJB    Document 59 Filed 10/04/19       Page 31 of 39 PageID #:
                                                     3678



                                 PLAINTIFFS’ PROPOSED                       DEFENDANTS’ PROPOSED
       TERM
                              CONSTRUCTION AND INTRINSIC                  CONSTRUCTION AND INTRINSIC
  (PATENT/CLAIMS)1
                                      EVIDENCE2                                   EVIDENCE

“pharmaceutical[ly]           Proposed Construction:                      Proposed Construction:
acceptable [ . . .] salt[s]   No construction necessary/plain and         The term is indefinite
thereof”                      ordinary meaning.                           If the Court chooses to construe the
           *****                                                          term, it means “a salt[s] ‘having no
                              In the alternative, Plaintiffs propose      persistent detrimental effect on the
’444 Patent: Claims 1–2, 5–                                               general health of the subject being
6, 8                          construing this term to mean: “salt[s]
                              that has/[have] no persistent detrimental   treated, or does not / do not abrogate the
’309 Patent: Claims 1, 10,                                                biological activity or properties of the
14                            effect on the general health of the
                              subject being treated or does/[do] not      compound, and is relatively nontoxic’
’015 Patent: Claim 17                                                     (excluding compositions, formulations,
’079 Patent: Claims 1–5, 7    abrogate the biological activity or
                              properties of the compound, and is/[are]    derivatives, metabolites, solvates,
’403 Patent: Claims 1–2                                                   prodrugs, esters, acids, crystalline forms
’091 Patent: Claims 1, 20     relatively nontoxic”
                                                                          (“also known as polymorphs”), and N-
’257 Patent: Claims 1, 2–5,                                               oxides of the molecule recited in the
8, 13                         Intrinsic Evidence:                         respective claim)”
                              The claims, specification, and              Intrinsic Evidence:
                              prosecution history of the:
                                                                          E.g., ’444 Patent (Ex. C) at 1:64-2:55;
                                 o ’444 Patent                            4:12-19; 4:35-45; 4:61-5:3; 13:48-14:5;
                                 o ’309 Patent                            23:26-52;·29:24-32:4; 33:1-55; 34:46-
                                 o ’015 Patent                            35:30; 54:64-55:6; 57:54-59:4; 59:28-
                                 o ’079 Patent                            63; 60:7-61:6; 62:34-49; 83:25-40;
                                 o ’403 Patent                            107:14-24
                                 o ’091 Patent


                                                        A25
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19      Page 32 of 39 PageID #:
                                           3679



                        PLAINTIFFS’ PROPOSED                      DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC                 CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                                  EVIDENCE
                        o ’257 Patent                          E.g., ’309 Patent (Ex. D) at 2:4-62;
                                                               4:19-26; 4:42-52; 5:1-10; 13:54-14:11;
                                                               23:1-28; 28:66-33:57; 33:1-57; 34:46-
                     ’444 Patent (Ex. C), 20:13–18; see also   35:29; 54:60-55:2; 57:47-58:64; 59:22-
                     ’444 Patent (Ex. C), 1:64–2:55, 4:12–19, 57; 60:1-67; 62:27-42; 83:9-25; 108:62-
                     14:35–45, 29:24–33, 54:64–55:5, 59:33– 109:4
                     60:21; corresponding passages in the
                     ’309 (Ex. D), ’079 (Ex. G), ’403 (Ex. J); E.g., ’015 Patent (Ex. M) at 2:12-3:3;
                     ’091 (Ex. K), ’015 (Ex. L), and ’257      4:27-34; 4:50-60; 5:9-19; 13:60-14:19;
                     (Ex. H) Patents; the claims of the ’444   23:22-48; 29:19-31:67; 33:1-57; 34:46-
                     (Ex. C), ’309 (Ex. D), ’079 (Ex. G), ’403 35:29; 54:64-55:6; 57:54-59:4; 59:28-
                     (Ex. J); ’091 (Ex. K), ’015 (Ex. L), and  63; 60:7-61 :6; 62:33-48; 83:20-34;
                     ’257 (Ex. H) Patents                      108:62-109:4

                     ’444 Patent (Appl. No. 11/617,645)        E.g., ’079 Patent (Ex. G) at 2:26-3:16;
                     Prosecution History: Original Claims      4:40-47; 4:63-5:6; 5:23-32; 14:6-30;
                     and Abstract (December 28, 2006);         23:37-64; 29:47-32:35; 33:26-34:17;
                     Requirement for Restriction/Election      35:6-55; 55:16-26; 58:14-59:31; 59:55-
                     dated November 14, 2007; Response to      60:23; 60:34-61:33; 62:60-63:8; 83:34-
                     Requirement for Restriction/Election      48; 106:48-57
                     dated December 14, 2007; Response to       E.g., ’403 Patent (Ex. J) at 2:12-3:3;
                     Office Action dated July 29, 2008; Final   4:27-34 4:50-60; 5:9-19; 13:61-14:19;
                     Rejection dated October 16, 2008;          23:26-52; 29:25-32:4; 32:65-33:54;
                     Response After Final Office Action         34:42-35:25; 54:60-55:2; 57:47-58:64;
                     dated November 21, 2008; Notice of         59:22-57; 60:1-67; 62:27-42; 83:8-22;
                     Allowance dated February 9, 2009.

                                              A26
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19       Page 33 of 39 PageID #:
                                           3680



                        PLAINTIFFS’ PROPOSED                      DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC                 CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                                  EVIDENCE

                     ’753 Patent (Appl. No. 13/908,949)         108:62-109:4
                     Prosecution History: Requirement for       E.g., ’091 Patent (Ex. K) at 2:38-3:25;
                     Restriction/Election dated January 28,     4:49-5:5-15; 5:32-41 14:15-39; 23:39-
                     2015 at 2-3; Response to Requirement       29:35-32:14; 33:1 34:43-35:24; 54:
                     for Restriction/Election dated March 30,   55:2· 57:47-58:64 59:22-57; 60:1-67;
                     2015; Response to Non-Final Office         62:27-42; 83:8-22; 106:3-12
                     Action dated August 24, 2015, at 8-25;     E.g., ’257 Patent (Ex. H) at 2:35-3:26;
                     Amended Claims dated August 24, 2015       4:49-56; 5:5-15; 5:31-40; 14:15-39;
                     ; Notice of Allowance dated November       23:37-64; 29:46-32:36; 33:28-34:16;
                     17, 2015; and Interview Summary dated      35:6-55; 55:44-53; 58:30-59:47; 60:4-
                     November 17, 2015.                         39; 60:50-61:49; 63:10-25; 83:62-84:9;
                     ’403 Patent (Appl. No. 13/249,066)         106:62-107:4
                     Prosecution History: Response to Non-      E.g., ’645 Application Prosecution
                     Final Office Action dated April 10,        History (U.S. Patent No. 7,514,444):
                     2013, at 5-6; Final Rejection dated May    Non-Final Office Action dated January
                     15, 2013, at 2-7; and Notice of            24, 2008, at 3; Response to Non-Final
                     Allowance dated January 15, 2014.          Office Action dated February 6, 2008 at
                     ’439 Patent (Appl. No. 13/450,158)         2-3; Non-Final Office Action dated
                     Prosecution History: Original Claims       May 13, 2008, at 3
                     dated April 18, 2012; Response to Non-     E.g., ’949 Application Prosecution
                     Final Office Action dated December 24,     History (Patent No. 9,296,753):
                     2013, at 6; and Notice of Allowance        Response to Non-Final Office Action
                     dated January 31, 2014.                    dated August 24, 2015, at 8-25


                                              A27
       Case 1:19-cv-00434-CFC-CJB   Document 59 Filed 10/04/19       Page 34 of 39 PageID #:
                                           3681



                        PLAINTIFFS’ PROPOSED                      DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC                 CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                                  EVIDENCE
                     ’470 Patent (Appl. No. 13/361,733)         E.g., ’066 Application Prosecution
                     Prosecution History: Original Claims       History (Patent No. 8,735,403): Non-
                     dated January 30, 2012; Response to        Final Office Action dated November
                     Non-Final Office Action dated October      27, 2012, at 2-7; Response to Non-Final
                     1, 2012, at 1-7; and Notice of Allowance   Office Action dated April 10, 2013, at
                     dated November 14, 2012.                   6; Final Rejection dated May 15, 2013,
                     ’908 Patent (Appl. No. 13/340,556)         at 3-6; Response to Advisory Action
                     Prosecution History: Amended Claims        and Final Office Action dated
                     dated January 31, 2012; and Notice of      November 15, 2013, at 2
                     Allowance dated January 31, 2014.          E.g., ’158 Application Prosecution
                     Appl. No. 15/042,734 (abandoned)           History (Patent No. 8,748,439): Non-
                     Prosecution History: Amended Claims        Final Office Action dated October 31,
                     dated September 30, 2016; and Non-         2013, at 8-9; Response to Non-Final
                     Final Office Action dated November 7,      Office Action dated December 24,
                     2016, at 3-18.                             2013, at 6
                                                                E.g., ’733 Application Prosecution
                                                                History (Patent No. 8,399,470): Non-
                                                                Final Office Action dated July 6, 2012,
                                                                at 2-8; Response to Non-Final Office
                                                                Action dated October 1, 2012, at 3-4
                                                                E.g., ’556 Application Prosecution
                                                                History (Patent No. 8,741,908): Non-
                                                                Final Office Action dated July 31, 2013,
                                                                at 3-8; Response to Non-Final Office

                                              A28
              Case 1:19-cv-00434-CFC-CJB    Document 59 Filed 10/04/19      Page 35 of 39 PageID #:
                                                   3682



                                PLAINTIFFS’ PROPOSED                     DEFENDANTS’ PROPOSED
       TERM
                             CONSTRUCTION AND INTRINSIC                CONSTRUCTION AND INTRINSIC
  (PATENT/CLAIMS)1
                                     EVIDENCE2                                 EVIDENCE
                                                                       Action dated December 31, 2013, at 5-6
                                                                       E.g., ’734 Application Prosecution
                                                                       History (abandoned): Non-Final Office
                                                                       Action dated November 7, 2016, at 3-8

“solid tablet formulation”   Proposed Construction:                    Proposed Construction:

         *****               No construction necessary/plain and       “solid tablet formulation that comprises
                             ordinary meaning.                         more than 0% w/w ibrutinib”
’857 Patent: Claims 27–28, Intrinsic Evidence:                         Intrinsic Evidence:
36–37                       The claims, specification, and
’507 Patent: Claims 1–3, 5– prosecution history of the:                E.g., ’857 Patent (Ex. P) at 29:10-12;
10, 13–17, 19–21, 23, 25–                                              31:11-50
28                             o ’857 Patent                           E.g., ’507 Patent (Ex. Q) at 29:33-35;
                               o ’507 Patent                           31:34-32:5
                               o ’386 Patent


                             ’857 Patent (Ex. P), Fig. 3, 2:63–7:42,
                             29:10–12, 29:47–54, 45:32–37, 66:48–
                             59, 72:56–67, 73:54–74:5, Examples 1–
                             3; corresponding passages in the ’507
                             Patent (Ex. Q); the claims of the ’857
                             (Ex. P), ’507 (Ex. Q), and ’386 (Ex. R)
                             Patents.



                                                      A29
              Case 1:19-cv-00434-CFC-CJB        Document 59 Filed 10/04/19       Page 36 of 39 PageID #:
                                                       3683



                                   PLAINTIFFS’ PROPOSED                       DEFENDANTS’ PROPOSED
       TERM
                                CONSTRUCTION AND INTRINSIC                  CONSTRUCTION AND INTRINSIC
  (PATENT/CLAIMS)1
                                        EVIDENCE2                                   EVIDENCE

“[X-ray powder diffraction      Proposed Construction:                      Proposed Construction:
(XRPD) pattern; Infrared        No construction necessary/plain and         “[X-ray powder diffraction (XRPD)
(IR) Spectrum; DSC              ordinary meaning. (C.A. No. 18-192,         pattern; Infrared (IR) Spectrum; DSC
thermogram; or thermo-          D.I. 169, Transcript of May 20, 2019        thermogram; or thermo-gravimetric
gravimetric analysis (TGA)      Hearing)                                    analysis (TGA) thermograph] that is the
thermograph] as [shown/the                                                  same as shown in [FIG. 1; 2; 3; or 4,
one set forth] in [FIG. 1; 2;   Intrinsic Evidence:
                                The claims, specification, and              respectively]”
3; or 4, respectively]”
                                prosecution history of the:                 Intrinsic Evidence:
          *****                    o ’455 Patent                            ’753 Patent (Ex. B) at Fig. 1; 16:66-67;
’753 Patent: Claim 1–15,           o ’753 Patent                            30:1-5; 30:8-11; 30:56-62
17                                 o ’548 Patent                            E.g., ’949 Application Prosecution
                                   o ’140 Patent                            History (Patent No. 9,296,753): Non-
                                                                            Final Office Action dated June 11,
                                ’548 Patent (Ex. N), Figs. 1–4, 2:50–       2015, at 3-4; Response to Non-Final
                                3:46, 17:34–39, 30:54–32:3, Examples        Office Action dated August 24, 2015, at
                                1, 2, 4, 5; corresponding passages in the   4-5, 8.
                                ’455 (Ex. A), ’753 (Ex. B), and ’140
                                (Ex. O) Patents; the claims of the ’455
                                (Ex. A), ’753 (Ex. B), ’548 (Ex. N) and
                                ’140 (Ex. O) Patents.
                                ’753 Patent (Ex. B), Figs. 1–4, 2:37–
                                3:30, 16:63–17:4, 30:1–31:13, 65:33–


                                                          A30
       Case 1:19-cv-00434-CFC-CJB    Document 59 Filed 10/04/19    Page 37 of 39 PageID #:
                                            3684



                        PLAINTIFFS’ PROPOSED                      DEFENDANTS’ PROPOSED
     TERM
                     CONSTRUCTION AND INTRINSIC                 CONSTRUCTION AND INTRINSIC
(PATENT/CLAIMS)1
                             EVIDENCE2                                  EVIDENCE
                     66:21, Examples 1, 2, 4, 5.
                     Intrinsic evidence cited/discussed in
                     C.A. No. 18-192 D.I. 144, 148, and 169,
                     including Original Claims and Abstract,
                     including:
                     Original Claims and Abstract, filed June
                     3, 2013 from the file history of U.S.
                     Patent No. 9,296,753; March 30, 2015
                     Response to Restriction Requirement
                     from the file history of U.S. Patent No.
                     9,296,753; June 11, 2015 Non-Final
                     Rejection from the file history of U.S.
                     Patent No. 9,296,753; Response to Non-
                     Final Office Action dated August 24,
                     2015; February 18, 2016 Notice of
                     Allowance from the file history of U.S.
                     Patent No. 9,296,753; February 18, 2016
                     Applicant Initiated Interview Summary
                     from the file history of U.S. Patent No.
                     9,296,753; February 28, 2017 Certificate
                     of Correction from the file history of
                     U.S. Patent No. 9,296,753.




                                              A31
             Case 1:19-cv-00434-CFC-CJB      Document 59 Filed 10/04/19      Page 38 of 39 PageID #:
                                                    3685



                                PLAINTIFFS’ PROPOSED                      DEFENDANTS’ PROPOSED
       TERM
                             CONSTRUCTION AND INTRINSIC                 CONSTRUCTION AND INTRINSIC
  (PATENT/CLAIMS)1
                                     EVIDENCE2                                  EVIDENCE

“mean AUC0-∞ of about        Proposed Construction:                     Proposed Construction:
465 ng*h/ml +/-248           No construction necessary/plain and        “mean AUC0-oo of about 465 ng*h/ml
ng*h/ml”                     ordinary meaning.                          +/- 248 ng*h/ml after oral
         *****               Intrinsic Evidence:                        administration of one or more tablet(s)
                             The claims, specification, and             of the solid tablet formulation in an
’386 Patent: Claim 1–2, 4–   prosecution history of the ’386 Patent.    amount sufficient to deliver 560 mg of
23                                                                      ibrutinib to a population of healthy
                                                                        human adults in a fasted state”
                             ’386 Patent (Ex. R), Figs. 1 and 2,
                             26:45–47, 27:29–52, Examples 5 and 6;      Intrinsic Evidence:
                             corresponding passages in the ’857         E.g., ’386 Patent (Ex. R) at 27:29-52;
                             Patent (Ex. P) (Figs. 1 and 2, 26:22–24,   95:23-97:20
                             27:5–28, Examples 5 and 6); the claims
                             of the ’386 Patent.




                                                       A32
   Case 1:19-cv-00434-CFC-CJB      Document 59 Filed 10/04/19     Page 39 of 39 PageID #:
                                          3686



        APPENDIX B: TERMS DEFENDANTS CONTENDS ARE INDEFINITE
                     BUT OFFERS NO CONSTRUCTION

                          TERM                        PLAINTIFFS’        DEFENDANTS’
               (PATENT/CLAIMS)                         POSITION            POSITION

“substantially similar”                              This term is not    This term is
                       *****                         indefinite.         indefinite.

’548 Patent: Claims 7-12, 29

“pharmaceutically acceptable stability”              This term is not    This term is
                       *****                         indefinite.         indefinite.

’386 Patent: Claims 21-23

“Infrared (IR) spectrum weak peaks at about 1584     This term is not    This term is
cm-1, about 1240 cm-1, about 1147 cm-1, about 1134   indefinite.         indefinite.
cm-1, about 1099 cm-1, and about 1067 cm-1”
                       *****
’455 Patent: Claim 9
’753 Patent: Claims 1-15, 17




                                            B1
